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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 16-cv-21640-JAL


 ANDRES GOMEZ, on his own behalf and on
 behalf of all other individuals similarly situated,

          Plaintiff,

 v.

 LUXOTTICA SUN CORP.,
 d/b/a Lenscrafters,

          Defendant.
                                                /

                                   NOTICE OF SETTLEMENT

          Defendant Luxottica Retail North America Inc.1 hereby gives notice to the Court that the

 parties have settled through informal settlement efforts all of Plaintiff Andres Gomez’s claims

 related to all websites, applications, and social media owned or operated by Luxottica U.S.

 Holdings Corp. and all of its subsidiaries and affiliates.




 1
  Luxottica Sun Corp. is not the proper defendant. Rather, the proper defendant in this matter is
 Luxottica Retail North America Inc.

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 Dated this 15th day of June, 2016.          Respectfully submitted,

                                             /s/ Beth S. Joseph
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                                             Counsel for Defendant

                  CERTIFICATE OF ELECTRONIC FILING AND SERVICE

          I hereby certify that on June 15, 2016, I electronically filed the foregoing with the Clerk

 of the Court by using the CM/ECF system. I also certify that the foregoing document is being

 served this day on all counsel of record or pro se parties identified on the attached Service List in

 the manner specified, either via transmission or Notices of Electronic Filing generated by

 CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

 to receive electronically Notices of Electronic Filing.

                                          SERVICE LIST

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 Counsel for Plaintiff

                                                  /s/ Beth S. Joseph
                                                  Beth S. Joseph




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